            Case 2:17-cv-00642-MJP Document 39-1 Filed 09/08/17 Page 1 of 2




 1                                                                  The Honorable Marsha J. Pechman
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                                UNITED STATES DISTRICT COURT
 7                   FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8   JULIE DALESSIO, an individual,
                                                             No. 2:17-cv-00642-RSM
 9                                         Plaintiff,
10                                                           [PROPOSED] ORDER REGARDING
                v.                                           PLAINTIFF’S MOTION TO SEAL
11   UNIVERSITY OF WASHINGTON,
12                                      Defendant.
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14              This matter having come before the Court on Plaintiff’s Motion to Seal, and the
15   Court having considered the Motion and argument, and the following pleadings:
16              1.       Plaintiff’s Motion to Seal and exhibit thereto;
17              2.       Declaration of Julie Dalessio and exhibits thereto;
18              3.       Defendant’s Response to Plaintiff’s Motion to Seal;
19              4.       Declaration of Derek Chen and exhibit thereto;
20              5.       _____________________________________________________________
21              6.       _________________________________________________________; and
22              7.       _____________________________________________________________
23              And this Court finding itself fully informed, hereby ORDERS the following:
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     [PROPOSED] ORDER REGARDING PLAINTIFF’S                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     MOTION TO SEAL - 1                                                           ATTORNEYS AT LAW
     2:17-cv-00642-RSM                                                      801 SECOND AVENUE, SUITE 1210
                                                                           SEATTLE, WASHINGTON 98104-1576
     1010-00051/314126                                                           PHONE: (206) 623-8861
                                                                                  FAX: (206) 223-9423
            Case 2:17-cv-00642-MJP Document 39-1 Filed 09/08/17 Page 2 of 2




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     DONE IN OPEN COURT THIS ____ DAY OF ____________, 2017.
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 7                                              The Honorable Marsha J. Pechman
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10   Presented by:
11   KEATING BUCKLIN & MCCORMACK, INC., P.S.
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     By: /s/ Jayne L. Freeman
14   Jayne L. Freeman, WSBA #24318
     Special Assistant Attorney General for Defendant
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     [PROPOSED] ORDER REGARDING PLAINTIFF’S              KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     MOTION TO SEAL - 2                                                  ATTORNEYS AT LAW
     2:17-cv-00642-RSM                                             801 SECOND AVENUE, SUITE 1210
                                                                  SEATTLE, WASHINGTON 98104-1576
     1010-00051/314126                                                  PHONE: (206) 623-8861
                                                                         FAX: (206) 223-9423
